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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                BROWNSVILLE DIVISION

UNITED STATES OF AMERICA                               §
                                                       §
       v.                                              §                  Case No. 1:25:cr-257
                                                       §
JAMES LAEL JENSEN                                      §
MAXWELL STERLING JENSEN                                §
a/k/a “Max”                                            §
KELLY ANNE JENSEN                                      §
ZACHARY GOLDEN JENSEN                                  §

       DEFENDANT MAXWELL STERLING JENSEN’S MOTION TO COMPEL
                  COMPLIANCE WITH RULE 16(a)(1)(E)

TO THE HONORABLE COURT:

       Defendant Maxwell Sterling Jensen files this Motion to Compel Compliance with Rule

16(a)(1)(E) and in support would respectfully show:

                                       Relevant Background

       1.      Rule 16(a)(1)(E) requires the government to provide discovery with respect to

certain documents and objects.

       2.      Defendant cannot comply with their reciprocal discovery obligation unless the

government provides a copy of all the documents it intends to use in its case-in-chief at trial.

Defendant respectfully requests that the Court order the Government to provide a copy of all the

files, documents, correspondence, written interviews, etc. that it intends to use in this case.

                                     Certificate of Conference

       Pursuant to S.D. Tex. Cr. LR 12.2, counsel for Maxwell Sterling Jensen attempted to

confer with Assistant United States Attorney Laura Garcia, as to her position in this Motion and

as of the time of this filing was unable to confer.
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                                                Prayer

       Defendant, therefore, respectfully requests that the Court grant this Motion. If the Court

deems it necessary, Defendant requests the Court set a hearing to consider further evidence and

arguments in this matter.

                                     Respectfully submitted,

                                     LAW OFFICE OF ROBERT GUERRA, PLLC

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                                             MAXWELL STERLING JENSEN


                               CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing document was served via e-
mail on this 15th day of May 2025 to the following:

        Ms. Laura Garcia                          ___________ Regular Mail
        Assistant United States Attorney          ___________ Certified Mail, RRR
        United States Attorney’s Office           ___________ Hand Delivery
        600 E. Harrison, Rm 201                   ___________ Facsimile
        Brownsville, Texas 78520                        X     Electronic Mail
        Ph: (956) 548-2554
        Email: laura.garcia@usdoj.gov


                                            /s/ Robert L. Guerra, Jr.
                                            ROBERT L. GUERRA, JR.
